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                                                                                   2022 Aug-08 AM 06:05
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT FOR
                  THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

FARRELL STEVEN SUTTON,                  )
    Plaintiff,                          )
                                        )
v.                                      )       Case No. 2:19-cv-00330-MHH
                                        )
DIRECT TV LLC,                          )
    Defendant.                          )

                             MEDIATOR’S REPORT

      The parties mediated the above matter in good faith on Juily 27, 2022 and on

subsequent dates, and the parties through the exercise of sound judgment reached a

mutually agreeable resolution. The parties will be filing a joint stipulation of

dismissal with the Court within the next 45 days seeking to dismiss the case with

prejudice with the parties to bear their own costs.

                                        /s/ Heather Newsom Leonard
                                        Heather Newsom Leonard
                                        MEDIATOR
OF COUNSEL:

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                         CERTIFICATE OF SERVICE

       I certify that on August 8, 2022, a copy of the foregoing has been served on
all counsel of record via the Court’s ECF service.

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                                                    /s/ Heather Newsom Leonard
                                                    Mediator




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